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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


MELISA INGRAM ET AL.,
                                                    Case No. 20-10288
              Plaintiffs,
                                                    SENIOR U. S. DISTRICT JUDGE
                  v.                                ARTHUR J. TARNOW

COUNTY OF WAYNE, ET AL.,
                                                    U.S. MAGISTRATE JUDGE
             Defendants.                            ELIZABETH A. STAFFORD



                                       /

 ORDER DENYING DEFENDANT’S MOTION TO DISMISS OR IN THE ALTERNATIVE
   MOTION FOR SUMMARY JUDGMENT AGAINST PLAINTIFF INGRAM [8] AND
  MOTION TO STAY OR IN THE ALTERNATIVE MOTION TO DISMISS PLAINTIFF
                         REEVES [9] AS MOOT

      On March 12, 2020, Defendant filed a Motion to Dismiss or in the Alternative

Motion for Summary Judgment against Plaintiff Ingram [8] and a Motion to Stay or

in the Alternative Motion to Dismiss Plaintiff Reeves [9]. On May 11, 2020, Plaintiff

filed an Amended Complaint [12]. In light of the amended complaint, Defendant’s

Motions [8] [9] are now moot. See KBT Group, LLC v. City of Eastpointe, No. 18-

10409, 2019 WL 1556194 * 3 (E.D. Mich. Apr. 10, 2019) (explaining that since an




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amended complaint supersedes the original complaint, a motion to dismiss the

original complaint is moot).

      Accordingly,

      IT IS ORDERED that Defendant’s Motion to Dismiss or in the Alternative

Motion for Summary Judgment against Plaintiff Ingram [8] is DENIED as moot.

      IT IS FURTHER ORDERED that Motion to Stay or in the Alternative

Motion to Dismiss Plaintiff Reeves [9] is DENIED as moot.

      SO ORDERED.




                                    s/Arthur J. Tarnow
                                    Arthur J. Tarnow
Dated: March 31, 2021               Senior United States District Judge




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